Case 16-53376-wlh Doci Filed 02/24/16 Entered 02/24/16 13:17:16 Desc Main
Document Pagei1of4

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United States Bankruptcy Court for the:

NORTHERN District of GEORGIA

(State) 7
Case number (if known): Chapter

LI Check if this is an
amended filing

Official Form 205
Involuntary Petition Against a Non-Individual 12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).

a Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

1. Chapter of the Check one:

Bankruptcy Code
(Chapter 7

QO Chapter 11

for Identify the Debtor

2. Debtor's name

SED INTERNATIONAL HOLDINGS, INC.

3. Other names you know
the debtor has used in
the last 8 years

Include any assumed
names, trade names, or
doing business as names.

4. Debtor’s federal

Employer Identification J Unknown
Number (EIN) 5444
EIN
Principal place of business Mailing address, if different

5. Debtor's address

2150 Cedars Road

Number Street Number Street
Suite 200
P.O. Box
Lawrenceville GA 30043
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Gwinnett
County Number Street

City State ZIP Code

Official Form 205 Involuntary Petition Against a Non-Individual page 1

Case 16-53376-wlh Doci Filed 02/24/16 Entered 02/24/16 13:17:16 Desc Main

Debtor SED International Holdings, Inc. Case number (known)

Document Page 2of4

Name

6. Debtor's website (URL)

7. Type of debtor

td Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CQ Partnership (excluding LLP)
C) Other type of debtor. Specify:

8. Type of debtor’s
business

Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
QO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QQ) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

U Clearing Bank (as defined in 11 U.S.C. § 781(3))

(4) None of the types of business listed.

( Unknown type of business.

9. To the best of your
knowledge, are any
bankruptcy cases
pending by or against
any partner or affiliate
of this debtor?

QI No
CY Yes. Debtor Relationship
District Date filed Case number, if known
MM/DD /YYYY
Debtor Relationship
District Date filed Case number, if known.

MM /DDIYYYY

ee Report About the Case

40. Venue

Check one:

KQ Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

C) A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

11. Allegations

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

™ The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

C) within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12, Has there been a
transfer of any claim
against the debtor by or
to any petitioner?

& No

CU) Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
Rule 1003(a).

Official Form 205

Involuntary Petition Against a Non-Individual page 2

Case 16-53376-wlh Doci Filed 02/24/16 Entered 02/24/16 13:17:16 Desc Main
Document Page 3of4

Debtor Case number (if known)
Name

13. Each petitioner’s claim Name of petitioner Nature of petitioner's claim Amount of the claim
above the value of
any lien
|
Hill, Kertscher & Wharton, LLP Judgment 3 97,199.00
| $
|
|
| $
|
| Total of petitioners’ claims $ 97,199.00

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each

| additional petitioning creditor, the petitioner's claim, the petitioner’s representative, and the petitioner's attorney. Include the

| statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative’s) signature,
| along with the signature of the petitioner's attorney.

ra Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

Petitioners or Petitioners’ Representative Attorneys

Name and mailing address of petitioner

Hill, Kertscher & Wharton, LLP James C. Morton

Name Printed name

Suite 1350, Two Midtown Plaza

Firm name, if any

1349 West Peachtree Street

| Suite 800, 3350 Riverwood Parkway

Number Street

Atlanta GA 30339

City State ZIP Code Number Street
| Atlanta GA 30309
Name and mailing address of petitioner's representative, if any City State ZIP Code
|
| Douglas R. Kertscher Contact phone (404) 966-5133-mai_jcm-law@concast.net
| Name

Number = Street

| Suite 800, 3350 Riverwood Parkway Bar number 526025
|

Atlanta GA 30339 State Georgia

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on } JA e x Keser Ct beh

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| J Signature ofjattorney

x fy LZ

| sifnatyfe of hetitioner or representative, including representative’s title Date signed Tao (AS Fol é

Official Form 205 Involuntary Petition Against a Non-Individual page 3

Case 16-53376-wlih Doci1 Filed 02/24/16 Entered 02/24/16 13:17:16 Desc Main
Document Page4of4
Debtor SED International Holdings, Inc. Case number drknown
Name

Name and mailing address of petitioner

Name Printed name
Firm name, if any

Number Street

City State ZIP Code Number Street

Name and mailing address of petitioner's representative, if any City State ZIP Code
Contact phone Email

Name
Bar number

Number Street
State

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on x

MM /DD /YYYY Signature of attorney

Date signed

Signature of petitioner or representative, including representative's title MM /DD /YYYY

Name and mailing address of petitioner

Name Printed name
Firm name, if any

Number Street

City State ZIP Code Number Street

Name and mailing address of petitioner's representative, if any City State ZIP Code
Contact phone Email

Name
Bar number

Number Street
State

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on x

MM /DD /YYYY Signature of attorney

Date signed

Signature of petitioner or representative, including representative's title : MM /DD /YYYY

Official Form 205 Involuntary Petition Against a Non-Individual page 4

